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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR05-203-RSM
09         Plaintiff,                     )
                                          )
10         v.                             )            SUMMARY REPORT OF U.S.
                                          )            MAGISTRATE JUDGE AS TO
11   ROBERT EARL HAMPTON,                 )            ALLEGED VIOLATIONS
                                          )            OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An initial hearing on supervised release revocation in this case was scheduled before me

15 on March 21, 2011. The United States was represented by AUSA Norman M. Barbosa and the

16 defendant by Ralph Hurvitz. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about December 9, 2005 by the Honorable Ricardo

18 S. Martinez on a charge of Bank Fraud, and sentenced to seven months custody with credit for

19 five months state time served, five years supervised release. (Dkt. 62.)

20          The conditions of supervised release included the standard conditions plus the

21 requirements that defendant cooperate in the collection of DNA, be prohibited from possessing

22 a firearm or destructive device, participate in a substance abuse program, submit to search, pay


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 restitution in the amount of $11,133.00, provide his probation officer with financial information

02 on request, maintain a single checking account for all financial transactions, disclose all assets

03 and liabilities, be prohibited from incurring new credit obligations or opening new lines of credit,

04 cooperate with the IRS and pay all tax liabilities, and reside in and satisfactorily participate in

05 a community corrections center program for up to 90 days.

06          On December 1, 2006, defendant admitted violating the conditions of supervised release

07 by using cocaine and failing to satisfactorily participate in a CCC program. He was sentenced

08 to two months in custody, 58 months supervised release. He was also prohibited from possessing

09 any identification documents in any but his true identity. (Dkt. 89.)

10          On July 9, 2009, defendant’s probation officer reported that he violated supervision by

11 using cocaine. Defendant was reprimanded, testing was increased, and a revised outpatient

12 treatment plan was conducted. No further action was taken at the time. (Dkt. 91.)

13          In an application dated March 11, 2011 (Dkt. 112, 113), U.S. Probation Officer Andrew

14 J. Lorenzen alleged the following violation of the conditions of supervised release:

15          1.      Using cocaine on or before January 3, 13; February 8, 22; and March 3, 2011, in

16 violation of standard condition 7.

17          Defendant was advised in full as to the charge and as to his constitutional rights.

18          Defendant admitted the alleged violation and waived any evidentiary hearing as to

19 whether it occurred.

20          I therefore recommend the Court find defendant violated his supervised release as alleged,

21 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

22 set before Judge Martinez.


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01          Pending a final determination by the Court, defendant has been detained.

02          DATED this 21st day of March, 2011.



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04                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     cc:    District Judge:              Honorable Ricardo S. Martinez
07          AUSA:                        Norman Barbosa
            Defendant’s attorney:        Ralph Hurvitz
08          Probation officer:           Andrew J. Lorenzen

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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